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 4
     Attorney for Defendant,
 5   THURMAN MAXWELL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. CR S 07 0248 WBS
10                                       )
                 Plaintiff,              )               STIPULATION AND [PROPOSED]
11                                       )               ORDER CONTINUING
           v.                            )               SENTENCING DATE
12                                       )
     THURMAN MAXWELL,                    )
13                                       )
                 Defendant.              )
14   ____________________________________)
15          It is hereby stipulated by and between Tim Warriner, counsel for defendant Thurman
16   Maxwell, and Jason Hitt, Assistant United States Attorney, counsel for the government, that the
17   sentencing hearing now set for October 24, 2011 be vacated, and that judgment and sentencing
18   be set for November 28, 2011, at 9:30 a.m. The continuance is needed to afford both counsel
19   additional time to address matters concerning the presentence investigation report.
20
     Dated: October 19, 2011              /s/ Timothy E. Warriner, Attorney for Maxwell
21
     Dated: October 19, 2011              /s/ Jason Hitt, Assistant United States Attorney for
22                                        The Government
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             Case 2:07-cr-00248-WBS Document 1013 Filed 10/21/11 Page 2 of 2


 1                                               ORDER
 2          GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 3   October 24, 2011 sentencing date is vacated, and the matter is set for judgment and sentence to
 4   occur on November 28, 2011 at 9:30 a.m.
 5   DATED: October 20, 2011
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